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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                 :
                                                         :
        v.                                               :
                                                         :
KASSIM TAJIDEEN,                                         :
also known as                                            :
HAJ KASSIM, BIG HAJ, BIG BOSS,                           :      Case No. 1:17-CR-00046 (RBW)
QASIM TAJIDEEN, QASSIM TAJIDEEN,                         :
KASSEM TAJIDEEN, KASSIM TAJ ALDINE,                      :
KASSIM TAJ ALDIN, KASSIM TAJ AL-DIN,                     :
KASSIM TAJ AL-DINE, and                                  :
KASSIM TAJADIN,                                          :
                                                         :
                        Defendant.                       :


                    NOTICE OF DISCLOSURE OF EXPERT WITNESSES

        The United States of America, by and through its attorneys, the United States Attorney for

the District of Columbia and the Criminal Division, United States Department of Justice,

respectfully provides notice of its disclosure to defendant Kassim Tajideen, through their counsel,

of the government’s intent to call expert witnesses at trial in this matter. In accordance with Fed. R.

Crim. P. 16 and the Court’s Scheduling Order, on June 29, 2018, the government produced a written

summary of the expert testimony that the government intends to use under Fed. R. Evid. 702, 703,

or 705 during its case in-chief at trial.


                                                  Respectfully submitted,

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                                                  United States Attorney
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                                            By:   /s/
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                                                  Luke Jones, VA Bar No. 75053
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